                                                       RP-2021-382134
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                                                                       07/07/2021        ER     $122.00




                 WHEN RECORDED, RETURN TO:

                 DLP Housing Loans, LLC
                 605 Palencia Club Drive
                 St. Augustine, Florida 32095                                                  ETE   pre   ng

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                                                                                        = au         2 0004E12Y)        "
                 Loan No. HF1717NOR
                 Property ID No.: 441840000016


                 NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU
                 MAY REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION
                 FROM ANY INSTRUMENT THAT TRANSFERS AN INTEREST IN REAL PROPERTY
                 BEFORE IT IS FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL
                 SECURITY NUMBER OR YOUR DRIVER’S LICENSE NUMBER

                                 DEED OF TRUST, ASSIGNMENT OF LEASES AND RENTS, FIXTURE
                                             FILING, AND SECURITY AGREEMENT


                  Note Amount:                   $3,315,250.00
                  Property Address:              1717 Norfolk Street, Houston, Texas 77098


                   THIS DOCUMENT CONSTITUTES A FIXTURE FILING IN ACCORDANCE                                 WITH THE TEXAS
                                          UNIFORM COMMERCIAL CODE.
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                          This Deed of Trust, Assignment of Leases and Rents, Fixture Filing, and Security Agreement (the
                 “Security Instrument” or “Deed of Trust”) is made as of July 2, 2021, among Norfolk Partners, LLC, a
                 Texas limited liability company (“Borrower”), whose address is 4203 Montrose Boulevard Suite 400,
                 Houston, Texas 77006; Tolesoaz Corp. d/b/a Total Lender Solutions, as trustee (“Trustee”) whose address
                 is 5900 Balcones Drive, Suite 100, Austin, TX 78731; and DLP Housing Loans, LLC, a Delaware Limited
                 Liability Company, as beneficiary (“Lender”), whose address is 605 Palencia Club Drive, St. Augustine,
                 Florida 32095.

                 TRANSFER OF RIGHTS IN THE PROPERTY

                          To secure the full and timely payment of the Indebtedness and the full and timely performance and
                 discharge of the Obligations, Borrower GRANTS, BARGAINS, SELLS, AND CONVEYS to Trustee the
                 Mortgaged Property, with power of sale and right of entry, subject only to the Permitted Encumbrances, to
                 have and to hold the Mortgaged Property to Trustee, its successors in trust, and the Trustee’s assigns forever,
                 and Borrower does hereby bind itself, its successors, and its assigns to warrant and forever defend the title
                 to the Mortgaged Property to Trustee against anyone lawfully claiming it or any part of it; provided,
                 however, that if the Indebtedness is paid in full as and when it becomes due and payable and the Obligations
                 are performed on or before the date they are to be performed and discharged, then the liens, security
                 interests, estates, and rights granted by the Loan Documents shall terminate; otherwise, they shall remain
                 in full force and effect. As additional security for the full and timely payment of the Indebtedness and the
                 full and timely performance and discharge of the Obligations, Borrower grants to Lender a security interest
                 in the Personalty, Fixtures, Leases, and Rents under Article Nine of the Uniform Commercial Code in effect
                 in the state where the Mortgaged Property is located. Borrower further grants, bargains, conveys, assigns,
                 transfers, and sets over to Trustee, acting as both a trustee and an agent for Lender under this Security


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                 Deed of Trust | Loan No. HFI717NOR                                                        Borrower's Initials:

                                                                                                           EXHIBIT 23
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                 Instrument, a security interest in and to all of Borrower's right, title, and interest in, to, and under the
                 Personalty, Fixtures, Leases, Rents, and Mortgaged Property (to the extent characterized as personal
                 property) to secure the full and timely payment of the Indebtedness and the full and timely performance
                 and discharge of the Obligations.
                             Borrower agrees to execute and deliver, from time to time, such further instruments, including, but
                 not limited to, security agreements, assignments, and UCC financing statements, as may be requested by
                 Lender to confirm the lien of this Security Instrument on any of the Mortgaged Property. Borrower further
                 irrevocably grants, transfers, and assigns to Lender the Rents. This assignment of Rents is to be effective
                 to create a present security interest in existing and future Rents of the Mortgaged Property.
                          TO MAINTAIN AND PROTECT THE SECURITY OF THIS SECURITY INSTRUMENT, TO
                 SECURE THE FULL AND TIMELY PERFORMANCE BY BORROWER OF EACH AND EVERY
                 OBLIGATION,         COVENANT,         AND AGREEMENT             OF BORROWER         UNDER     THE LOAN
                 DOCUMENTS, AND AS ADDITIONAL CONSIDERATION FOR THE INDEBTEDNESS AND
                 OBLIGATIONS EVIDENCED BY THE LOAN DOCUMENTS, BORROWER HEREBY COVENANTS,
                 REPRESENTS, AND AGREES AS FOLLOWS:

                 DEFINITIONS.

                 1.      Definitions. For purposes of this Security Instrument, each of the following terms shall have the
                 following respective meanings:
                          1.1     “Attorneys’ Fees.” Any and all attorney fees (including the allocated cost of in-house
                 counsel),         paralegal,      and     law   clerk   fees,   including,   without   limitation,   fees   for advice,     negotiation,
                 consultation, arbitration, and litigation at the pretrial, trial, and appellate levels, and in any bankruptcy
                 proceedings, and attorney costs and expenses incurred or paid by Lender in protecting its interests in the
                 Mortgaged Property, including, but not limited to, any action for waste, and enforcing its rights under this
                 Security Instrument.
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                          1.2     “Borrower.”
                                   1.2.1.  The named Borrower in this Security Instrument;
                                  1.2.2. The obligor under the Note, whether or not named as Borrower in this Security
                 Instrument; and
                                          1.2.3.         Subject to any limitations of assignment as provided for in the Loan Documents,
                 the heirs, legatees, devisees, administrators, executors, successors in interest to the Mortgaged Property,
                 and the assigns of any such person.
                                  All references to Borrower in the remainder of the Loan Documents shall mean the obligor
                 under the Note.
                          1.3    “Event of Default.” An Event of Default as defined in the Loan Agreement.
                          1.4    “Fixtures.” All right, title, and interest of Borrower in and to all materials, supplies,
                 equipment, apparatus, and other items now or later attached to, installed on or in the Land or the
                 Improvements, or that in some fashion are deemed to be fixtures to the Land or Improvements under the
                 laws of the state where the Mortgaged Property is located, including the Uniform Commercial Code.
                 “Fixtures” includes, without limitation, all items of Personalty to the extent that they may be deemed
                 Fixtures under Governmental Requirements.
                             1.5         “Governmental Authority.” Any and all courts, boards, agencies, commissions, offices,
                 or authorities of any nature whatsoever for any governmental unit (federal, state, county, district, municipal,
                 city, or otherwise) whether now or later in existence.
                          1.6     “Governmental Requirements.” Any and all laws, statutes, codes,                                            ordinances,
                 regulations, enactments, decrees, judgments, and orders of any Governmental Authority.
                          1.7      “Impositions.” All real estate and personal property taxes, water, gas, sewer, electricity,
                 and other utility rates and charges; charges imposed under any subdivision, planned unit development, or
                 condominium declaration or restrictions; charges for any easement, license, or agreement maintained for



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                 the benefit of the Mortgaged Property, and all other taxes, charges, and assessments and any interest, costs,
                 or penalties of any kind and nature that at any time before or after the execution of this Security Instrument
                 may be assessed, levied, or imposed on the Mortgaged Property or on its ownership, use, occupancy, or
                 enjoyment.
                          1.8      “Improvements.”        Any and all buildings, structures, improvements, fixtures, and
                 appurtenances now and later placed on the Mortgaged Property, including, without limitation, all apparatus
                 and equipment, whether or not physically affixed to the land or any building, which is used to provide or
                 supply air cooling, air conditioning, heat, gas, water, light, power, refrigeration, ventilation, laundry, drying,
                 dish washing, garbage disposal, or other services; and all elevators, escalators, and related machinery and
                 equipment, fire prevention and extinguishing apparatus, security and access control apparatus, partitions,
                 ducts, compressors, plumbing, ovens, refrigerators, dishwashers, disposals, washers, dryers, awnings, storm
                 windows, storm doors, screens, blinds, shades, curtains, curtain rods, mirrors, cabinets, paneling, rugs,
                 attached floor coverings, furniture, pictures, antennas, pools, spas, pool and spa operation and maintenance
                 equipment and apparatus, and trees and plants located on the Mortgaged Property, all of which, including
                 replacements and additions, shall conclusively be deemed to be affixed to and be part of the Mortgaged
                 Property conveyed to Trustee under this Security Instrument.
                          1.9      “Indebtedness.” The principal of, interest on, and all other amounts and payments due
                 under or evidenced by the following:
                                   1.9.1.   The Note (including, without limitation, the prepayment premium, late payment,
                 and other charges payable under the Note);
                                   1.9.2.   The Loan Agreement;
                                   1.9.3.   This Security Instrument and all other Loan Documents;
                                   1.9.4.   All funds later advanced by Lender to or for the benefit of Borrower under any
                 provision of any of the Loan Documents;
                                   1.9.5.   Any future loans or amounts advanced by Lender to Borrower when evidenced by
                 a written instrument or document that specifically recites that the Obligations evidenced by such document
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                 are secured by the terms of this Security Instrument, including, but not limited to, funds advanced to protect
                 the security or priority of the Security Instrument; and
                                    1.9.6.   Any amendment,      modification, extension, rearrangement,     restatement, renewal,
                 substitution, or replacement of any of the foregoing.
                           1.10    “Land.” The real estate or any interest in it described in Exhibit “A” attached to this
                 Security Instrument and made a part of it, together with all Improvements and Fixtures and all rights, titles,
                 and interests appurtenant to it.
                           1.11     “Leases.” Any and all       leases, subleases, licenses, concessions, or other agreements
                 (written or verbal, now or later in effect)    that grant a possessory interest in and to, or the right to extract,
                 mine, reside in, sell, or use the Mortgaged     Property, and all other agreements, including, but not limited to,
                 utility contracts, maintenance agreements,     and service contracts that in any way relate to the use, occupancy,
                 operation, maintenance, enjoyment, or ownership of the Mortgaged Property, except any and all leases,
                 subleases, or other agreements under which Borrower is granted a possessory interest in the Land.
                          1.12     “Lender.” The named Lender in this Security Instrument and the owner and holder
                 (including a pledgee) of any Note, Indebtedness, or Obligations secured by this Security Instrument,
                 whether or not named as Lender in this Security Instrument, and the heirs, legatees, devisees,
                 administrators, executors, successors, and assigns of any such person.
                          1.13     “Loan.” The extension of credit made by Lender to Borrower under the terms of the Loan
                 Documents.
                          1.14    “Loan Agreement.” The Loan and Security Agreement given by Borrower evidencing the
                 Loan, in such form as is acceptable to Lender, together with any and all rearrangements, extensions,
                 renewals, substitutions, replacements, modifications, restatements, and amendments thereto.




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                          1.15     “Loan     Documents.”        Collectively,     this Security   Instrument,     the Note,     and   all other
                 instruments and agreements required to be executed by Borrower or any guarantor in connection with the
                 Loan.
                          1.16     “Mortgaged       Property.”     The    Land,    Improvements,     Fixtures,    Personalty,    Leases,    and
                 Rents that is described as follows:

                 SEE EXHIBIT “A” ATTACHED HERETO AND MADE A PART HEREOF,

                 commonly known as:           1717 Norfolk Street, Houston, Texas 77098
                                              Property ID No.:      441840000016


                 together with:
                                  1.16.1. All right, title, and interest (including any claim or demand or demand in law or
                 equity) that Borrower now has or may later acquire in or to such Mortgaged Property; all easements, rights,
                 privileges, tenements, hereditaments, and appurtenances belonging or in any way appertaining to the
                 Mortgaged Property; all of the estate, right, title, interest, claim, demand, reversion, or remainder of
                 Borrower in or to the Mortgaged Property, either at law or in equity, in possession or expectancy, now or
                 later acquired; all crops growing or to be grown on the Mortgaged Property; all development rights or
                 credits and air rights; all water and water rights (whether or not appurtenant to the Mortgaged Property) and
                 shares of stock pertaining to such water or water rights, ownership of which affects the Mortgaged Property;
                 all minerals, oil, gas, and other hydrocarbon           substances    and rights thereto in, on, under, or upon the
                 Mortgaged Property and all royalties and profits from any such rights or shares             of stock; all right, title, and
                 interest of Borrower in and to any streets, ways, alleys, strips, or gores of land           adjoining the Land or any
                 part of it that Borrower now owns or at any time later acquires and all adjacent             lands within enclosures or
                 occupied by buildings partly situated on the Mortgaged Property;
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                                    1.16.2. All intangible Mortgaged Property and rights relating               to the Mortgaged Property
                 or its operation or used in connection with it, including, without limitation, permits, licenses, plans,
                 specifications, construction contracts, subcontracts, bids, deposits for utility services, installations, refunds
                 due Borrower, trade names, trademarks, and service marks;
                                   1.16.3. All of the right, title, and interest of Borrower in and to the land lying in the bed
                 of any street, road, highway, or avenue in front of or adjoining the Land;
                                    1.16.4. Any and all awards previously made or later to be made by any Governmental
                 Authority to the present and all subsequent owners of the Mortgaged Property that may be made with
                 respect to the Mortgaged Property as a result of the exercise of the right of eminent domain, the alteration
                 of the grade of any street, or any other injury to or decrease of value of the Mortgaged Property, which
                 award or awards are assigned to Lender and Lender, at its option, is authorized, directed, and empowered
                 to collect and receive the proceeds of any such award or awards from the authorities making them and to
                 give proper receipts and acquittances for them;
                                      1.16.5. All certificates of deposit of Borrower in Lender’s possession and all bank
                 accounts of Borrower with Lender and their proceeds, and all deposits of Borrower with any Governmental
                 Authority and/or public utility company that relate to the ownership of the Mortgaged Property;
                                      1.16.6. All Leases of the Mortgaged Property or any part of it now or later entered into
                 and all right, title, and interest of Borrower under such Leases, including cash or securities deposited by the
                 tenants to secure performance of their obligations under such Leases (whether such cash or securities are
                 to be held until the expiration of the terms of such Leases or applied to one or more of the installments of
                 rent coming due immediately before the expiration of such terms), all rights to all insurance proceeds and
                 unearned insurance premiums arising from or relating to the Mortgaged Property, all other rights and
                 easements of Borrower now or later existing pertaining to the use and enjoyment of the Mortgaged Property,




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                 and all right, title, and interest of Borrower in and to all declarations       of covenants,    conditions,     and
                 restrictions as may affect or otherwise relate to the Mortgaged Property;
                                   1.16.7. Any and all proceeds of any insurance policies covering the Mortgaged Property,
                 whether or not such insurance policies were required by Lender as a condition of making the loan secured
                 by this Security Instrument or are required to be maintained by Borrower as provided below in this Security
                 Instrument; which proceeds are assigned to Lender, and Lender, at its option, is authorized, directed, and
                 empowered to collect and receive the proceeds of such insurance policies from the insurers issuing the same
                 and to give proper receipts and acquittances for such policies, and to apply the same as provided below;
                                  1.16.8. If the Mortgaged Property includes a leasehold estate, all of Borrower’s right, title,
                 and interest in and to the lease, more particularly described in Exhibit “A” attached to this Security
                 Instrument (the Leasehold) including, without limitation, the right to surrender, terminate, cancel, waive,
                 change, supplement, grant subleases of, alter, or amend the Leasehold;
                                   1.16.9. All plans and specifications for the Improvements; all contracts and subcontracts
                 relating to the Improvements; all deposits (including tenants’ security deposits; provided, however, that if
                 Lender acquires possession or control of tenants’ security deposits Lender shall use the tenants’ security
                 deposits only for such purposes as Governmental Requirements permit), funds, accounts, contract rights,
                 instruments, documents, general intangibles, and notes or chattel paper arising from or in connection with
                 the Mortgaged Property; all permits, licenses, certificates, and other rights and privileges obtained in
                 connection with the Mortgaged Property; all soils reports, engineering reports, land planning maps,
                 drawings, construction contracts, notes, drafts, documents, engineering and architectural drawings, letters
                 of credit, bonds, surety bonds, any other intangible rights relating to the Land and Improvements, surveys,
                 and other reports, exhibits, or plans used or to be used in connection with the construction, planning,
                 operation, or maintenance of the Land and Improvements and all amendments and modifications; all
                 proceeds arising from or by virtue of the sale, lease, grant of option, or other disposition of all or any part
                 of the Mortgaged Property (consent to same is not granted or implied); and all proceeds (including premium
                 refunds) payable or to be payable under each insurance policy relating to the Mortgaged Property;
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                                    1.16.10.   All trade names, trademarks, symbols, service marks, and goodwill associated
                 with the Mortgaged Property and any and all state and federal applications and registrations now or later
                 used in connection with the use or operation of the Mortgaged Property;
                                   1.16.11. All tax refunds, bills, notes, inventories, accounts and charges receivable, credits,
                 claims, securities, and documents of all kinds, and all instruments, contract rights, general intangibles,
                 bonds and deposits, and all proceeds and products of the Mortgaged Property;
                                  1.16.12. All money or other personal property of Borrower (including, without limitation,
                 any instrument, deposit account, general intangible, or chattel paper, as defined in the Uniform Commercial
                 Code) previously or later delivered to, deposited with, or that otherwise comes into Lender’s possession;
                                 1.16.13. All accounts, contract rights, chattel paper, documents, instruments, books,
                 records, claims against third parties, money, securities, drafts, notes, proceeds, and other items relating to
                 the Mortgaged Property;
                                     1.16.14. All construction, supply, engineering, and architectural contracts executed and to
                 be executed by Borrower for the construction of the Improvements; and
                                     1.16.15. All proceeds of any of the foregoing.
                                     As used in this Security Instrument, “Mortgaged Property” is expressly defined as meaning
                 all or, when the context permits or requires, any portion of it and all or, when the context permits or requires,
                 any interest in it.
                           1.17      “Note.” The Secured Note payable by Borrower to the order of Lender in the principal
                 amount of Three Million Three Hundred Fifteen Thousand Two Hundred Fifty and 00/100 Dollars
                 ($3,315,250.00), which matures on August 1, 2022, evidencing the Loan, in such form as is acceptable to
                 Lender, together with any and all rearrangements, extensions, renewals, substitutions, replacements,
                 modifications, restatements, and amendments to the Secured Note.
                                                                         Wh




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                             1.18       “Obligations.”     Any    and   all of the covenants,     warranties,   representations,       and     other
                 obligations (other than to repay the Indebtedness) made or undertaken by Borrower to Lender or Trustee as
                 set forth in the Loan Documents; any lease, sublease, or other agreement under which Borrower is granted
                 a possessory interest in the Land; each obligation, covenant, and agreement of Borrower in the Loan
                 Documents or in any other document executed by Borrower in connection with the loan(s) secured by this
                 Security Instrument whether set forth in or incorporated into the Loan Documents by reference; each and
                 every monetary provision of all covenants, conditions, and restrictions, if any, pertaining to the Mortgaged
                 Property and on Lender’s written request, the enforcement by Borrower of any covenant by third parties to
                 pay maintenance or other charges, if they have not been paid, or valid legal steps taken to enforce such
                 payment within 90 days after such written request is made; if the Mortgaged Property consists of or includes
                 a leasehold estate, each obligation, covenant, and agreement of Borrower arising under, or contained in, the
                 instrument(s) creating any such leasehold; all agreements of Borrower to pay fees and charges to Lender
                 whether or not set forth in this Security Instrument; and charges, as allowed by law, when they are made
                 for any statement regarding the obligations secured by this Security Instrument.
                                   The Obligations specifically exclude the Environmental Indemnity Agreement dated the
                 date of this Security Instrument, executed by Borrower and any guarantor of the Loan, which is not secured
                 by this Security Instrument.
                          1.19     “Permitted Encumbrances.” At any particular time, (a) liens for taxes, assessments, or
                 governmental charges not then due and payable or not then delinquent; (b) liens, easements, encumbrances,
                 and restrictions on the Mortgaged Property that are allowed by Lender to appear in Schedule B, with Parts
                 I and II of an TLTA title policy to be issued to Lender following recordation of the Security Instrument;
                 and (c) liens in favor of or consented to in writing by Lender.
                          1.20     “Person.” Natural persons, corporations, partnerships, unincorporated associations, joint
                 ventures, and any other form of legal entity.
                          1.21      “Personalty.” All of the right, title, and interest of Borrower in and to all tangible and
                 intangible personal property, whether now owned or later acquired by Borrower, including, but not limited
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                 to, water rights (to the extent they may constitute personal property), all equipment, inventory, goods,
                 consumer goods, accounts, chattel paper, instruments, money, general intangibles, letter-of-credit rights,
                 deposit accounts, investment property, documents, minerals, crops, and timber (as those terms are defined
                 in the Uniform Commercial Code) and that are now or at any later time located on, attached to, installed,
                 placed, used on, in connection with, or are required for such attachment, installation, placement, or use on
                 the Land, the Improvements, Fixtures, or on other goods located on the Land or Improvements, together
                 with all additions, accessions, accessories, amendments, modifications to the Land or Improvements,
                 extensions, renewals, and enlargements and proceeds of the Land or Improvements, substitutions for, and
                 income and profits from, the Land or Improvements. The Personalty includes, but is not limited to, all
                 goods, machinery, tools, equipment (including fire sprinklers and alarm systems); building materials, air
                 conditioning,      heating,    refrigerating,    electronic     monitoring,   entertainment,   recreational,      maintenance,
                 extermination of vermin or insects, dust removal, refuse and garbage equipment; vehicle maintenance and
                 repair equipment; office furniture (including tables, chairs, planters, desks, sofas, shelves, lockers, and
                 cabinets); safes, furnishings, appliances (including ice-making machines, refrigerators, fans, water heaters,
                 and incinerators); rugs, carpets, other floor coverings, draperies, drapery rods and brackets, awnings,
                 window       shades,    venetian   blinds, curtains, other window         coverings;    lamps, chandeliers, other lighting
                 fixtures;    office maintenance         and   other supplies;     loan   commitments,    financing     arrangements,         bonds,
                 construction contracts, leases, tenants’ security deposits, licenses, permits, sales contracts, option contracts,
                 lease contracts, insurance policies, proceeds from policies, plans, specifications, surveys, books, records,
                 funds, bank deposits; and all other intangible personal property. Personalty also includes any other portion
                 or items of the Mortgaged Property that constitute personal property under the Uniform Commercial Code.
                          1.22    “Rents.” All rents, issues, revenues, income, proceeds, royalties, profits, license fees,
                 prepaid municipal and utility fees, bonds, and other benefits to which Borrower or the record title owner of
                 the Mortgaged Property may now or later be entitled from or which are derived from the Mortgaged



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                 Property, including, without limitation, sale proceeds of the Mortgaged Property; any room or space sales
                 or rentals from the Mortgaged Property; and other benefits paid or payable for using, leasing, licensing,
                 possessing, operating from or in, residing in, selling, mining, extracting, or otherwise enjoying or using the
                 Mortgaged Property.
                           1.23     “Uniform Commercial Code.” The uniform commercial code as found in the statutes of
                 the state in which the Mortgaged Property is located.
                           1.24    “Water Rights.” All water rights of whatever kind or character, surface or underground,
                 appropriative, decreed, or vested, that are appurtenant to the Mortgaged Property or otherwise used or useful
                 in connection with the intended development of the Mortgaged Property.
                          Any terms not otherwise defined in this Security Instrument shall have the meaning given them in
                 the Loan Agreement and Note, dated of even date herewith between Borrower and Lender.

                 UNIFORM COVENANTS

                 2.        Repair and Maintenance of Mortgaged Property. Borrower shall (a) keep the Mortgaged
                 Property in good condition and repair; (b) not substantially alter, remove, or demolish the Mortgaged
                 Property or any of the Improvements except when incident to the replacement of Fixtures, equipment,
                 machinery, or appliances with items of like kind; (c) restore and repair to the equivalent of its original
                 condition all or any part of the Mortgaged Property that may be damaged or destroyed, including, but not
                 limited to, damage from termites and dry rot, soil subsidence, and construction defects, whether or not
                 insurance proceeds are available to cover any part of the cost of such restoration and repair, and regardless
                 of whether Lender permits the use of any insurance proceeds to be used for restoration under this Security
                 Instrument; (d) pay when due all claims for labor performed and materials furnished in connection with the
                 Mortgaged Property and not permit any mechanics’ or materialman’s lien to arise against the Mortgaged
                 Property or furnish a loss or liability bond against such mechanics’ or materialman’s lien claims; (e) comply
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                 with all laws affecting the Mortgaged Property or requiring that any alterations, repairs, replacements, or
                 improvements be made on it; (f) not commit or permit waste on or to the Mortgaged Property, or commit,
                 suffer, or permit any act or violation of law to occur on it; (g) not abandon the Mortgaged Property; (h)
                 cultivate, irrigate, fertilize, fumigate, and prune in accordance with prudent agricultural practices; (i) if
                 required by Lender, provide for management satisfactory to Lender under a management contract approved
                 by Lender; (j) notify Lender in writing of any condition at or on the Mortgaged Property that may have a
                 significant and measurable effect on its market value; (k) if the Mortgaged Property is rental property,
                 generally operate and maintain it in such manner as to realize its maximum rental potential; and (1) do all
                 other things that the character or use of the Mortgaged Property may reasonably render necessary to
                 maintain it in the same condition (reasonable wear and tear expected) as existed at the date of this Security
                 Instrument.
                 3.        Use of Mortgaged Property. Unless otherwise required by Governmental Requirements or unless
                 Lender otherwise provides prior written consent, Borrower shall not change, nor allow changes in, the use
                 of the Mortgaged Property from the current use of the Mortgaged Property as of the date of this Security
                 Instrument. Borrower shall not initiate or acquiesce in a change in the zoning classification of the
                 Mortgaged Property without Lender’s prior written consent.
                 4.        Condemnation and Insurance Proceeds.
                           4.1      Assignment to Lender. The proceeds of any award or claim for damages, direct or
                 consequential, in connection with any condemnation or other taking of or damage or injury to the
                 Mortgaged Property, or any part of it, or for conveyance in lieu of condemnation, are assigned to and shall
                 be paid to Lender, regardless of whether Lender’s security is impaired. All causes of action, whether
                 accrued before or after the date of this Security Instrument, of all types for damages or injury to the
                 Mortgaged Property or any part of it, or in connection with any transaction financed by funds lent to
                 Borrower by Lender and secured by this Security Instrument, or in connection with or affecting the
                 Mortgaged Property or any part of it, including, without limitation, causes of action arising in tort or contract


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                 or in equity, are assigned to Lender as additional security, and the proceeds shall be paid to Lender. Lender,
                 at its option, may appear in and prosecute in its own name any action or proceeding to enforce any such
                 cause of action and may make any compromise or settlement of such action. Borrower shall notify Lender
                 in writing immediately on obtaining knowledge of any casualty damage to the Mortgaged Property or
                 damage in any other manner in excess of $2,000.00 or knowledge of the institution of any proceeding
                 relating to condemnation or other taking of or damage or injury to all or any portion of the Mortgaged
                 Property. Lender, in its sole and absolute discretion, may participate in any such proceedings and may join
                 Borrower in adjusting any loss covered by insurance. Borrower covenants and agrees with Lender, at
                 Lender’s request, to make, execute, and deliver, at Borrower’s expense, any and all assignments and other
                 instruments sufficient for the purpose of assigning the aforesaid award or awards, causes of action, or claims
                 of damages or proceeds to Lender free, clear, and discharged of any and all encumbrances of any kind or
                 nature.
                            4.2    Insurance Payments.          All compensation, awards, proceeds, damages, claims, insurance
                 recoveries, rights of action, and payments that Borrower may receive or to which Lender may become
                 entitled with respect to the Mortgaged Property if any damage or injury occurs to the Mortgaged Property,
                 other than by a partial condemnation or other partial taking of the Mortgaged Property, shall be paid over
                 to Lender and shall be applied first toward reimbursement of all costs and expenses of Lender in connection
                 with their recovery and disbursement, and shall then be applied as follows:
                                   4.2.1.   Lender shall consent to the application of such payments to the restoration of the
                 Mortgaged Property so damaged only if Borrower has met all the following conditions (a breach of any one
                 of which shall constitute a default under this Security Instrument, the Loan Agreement, the Note, and any
                 Loan Documents): (a) Borrower is not in default under any of the terms, covenants, and conditions of the
                 Loan Documents; (b) all then-existing Leases affected in any way by such damage will continue in full
                 force and effect; (c) Lender is satisfied that the insurance or award proceeds, plus any sums added by
                 Borrower, shall be sufficient to fully restore and rebuild the Mortgaged Property under then current
                 Governmental Requirements; (d) within 60 days after the damage to the Mortgaged Property, Borrower
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                 presents to Lender a restoration plan satisfactory to Lender and any local planning department, which
                 includes cost estimates and schedules; (¢) construction and completion of restoration and rebuilding of the
                 Mortgaged Property shall be completed in accordance with plans and specifications and drawings submitted
                 to Lender within 30 days after receipt by Lender of the restoration plan and thereafter approved by Lender,
                 which plans, specifications, and drawings shall not be substantially modified, changed, or revised without
                 Lender’s prior written consent; (f) within 3 months after such damage, Borrower and a licensed contractor
                 satisfactory to Lender enter into a fixed price or guaranteed maximum price contract satisfactory to Lender,
                 providing for complete restoration in accordance with such restoration plan for an amount not to exceed the
                 amount of funds held or to be held by Lender; (g) all restoration of the Improvements so damaged or
                 destroyed shall be made with reasonable promptness and shall be of a value at least equal to the value of
                 the Improvements so damaged or destroyed before such damage or destruction; (h) Lender reasonably
                 determines that there is an identified source (whether from income from the Mortgaged Property, rental
                 loss insurance, or another source) sufficient to pay all debt service and operating expenses of the Mortgaged
                 Property during its restoration as required above; and (i) any and all funds that are made available for
                 restoration and rebuilding under this Section shall be disbursed, at Lender’s sole and absolute discretion to
                 Lender, through Lender, the Trustee, or a title insurance or trust company satisfactory to Lender, in
                 accordance with standard construction lending practices, including a reasonable fee payable to Lender from
                 such funds and,     if Lender    requests, mechanics’    lien waivers   and title insurance   date-downs,    and the
                 provision of payment and performance bonds by Borrower, or in any other manner approved by Lender in
                 Lender’s sole and absolute discretion; or
                                  4.2.2.   If fewer than all conditions (a) through (i) above are satisfied, then such payments
                 shall be applied in the sole and absolute discretion of Lender (a) to the payment or prepayment, with any
                 applicable prepayment premium, of any Indebtedness secured by this Security Instrument in such order as
                 Lender may determine, or (b) to the reimbursement of Borrower’s expenses incurred in the rebuilding and



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                 restoration of the Mortgaged Property. If Lender elects under this Section to make any funds available to
                 restore the Mortgaged Property, then all of conditions (a) through (i) above shall apply, except for such
                 conditions that Lender, in its sole and absolute discretion, may waive.
                          4.3      Material Loss Not Covered. If any material part of the Mortgaged Property is damaged
                 or destroyed and the loss, measured by the replacement cost of the Improvements according to then current
                 Governmental Requirements, is not adequately covered by insurance proceeds collected or in the process
                 of collection, Borrower shall deposit with Lender, within 30 days after Lender’s request, the amount of the
                 loss not so covered.
                          4.4      Total Condemnation Payments. All compensation, awards, proceeds, damages, claims,
                 insurance recoveries, rights of action, and payments that Borrower may receive or to which Borrower may
                 become entitled with respect to the Mortgaged Property in the event of a total condemnation or other total
                 taking of the Mortgaged Property shall be paid over to Lender and shall be applied first to reimbursement
                 of all Lender’s costs and expenses in connection with their recovery, and shall then be applied to the
                 payment of any Indebtedness secured by this Security Instrument in such order as Lender may determine,
                 until the Indebtedness secured by this Security Instrument has been paid and satisfied in full. Any surplus
                 remaining after payment and satisfaction of the Indebtedness secured by this Security Instrument shall be
                 paid to Borrower as its interest may then appear.
                          4.5      Partial Condemnation Payments.      All compensation, awards, proceeds, damages, claims,
                 insurance recoveries, rights of action, and payments (“funds”) that Borrower may receive or to which
                 Borrower may become entitled with respect to the Mortgaged Property in the event of a partial
                 condemnation or other partial taking of the Mortgaged Property, unless Borrower and Lender otherwise
                 agree in writing, shall be divided into two portions, one equal to the principal balance of the Note at the
                 time of receipt of such funds and the other equal to the amount by which such funds exceed the principal
                 balance of the Note at the time of receipt of such funds. The first such portion shall be applied to the sums
                 secured by this Security Instrument, whether or not then due, including but not limited to principal, accrued
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                 interest, and advances, and in such order or combination as Lender may determine, with the balance of the
                 funds paid to Borrower.
                           4.6     Cure of Waiver of Default. Any application of such amounts or any portion of it to any
                 Indebtedness secured by this Security Instrument shall not be construed to cure or waive any default or
                 notice of default under this Security Instrument or invalidate any act done under any such default or notice.
                 5.        Taxes and Other Sums Due.           Borrower shall promptly pay, satisfy, and discharge: (a) all
                 Impositions affecting the Mortgaged Property before they become delinquent; (b) such other amounts,
                 chargeable against Borrower or the Mortgaged Property, as Lender reasonably deems necessary to protect
                 and preserve the Mortgaged Property, this Security Instrument, or Lender’s security for the performance of
                 the Obligations; (c) all encumbrances, charges, and liens on the Mortgaged Property, with interest, which
                 in Lender’s judgment are, or appear to be, prior or superior to the lien of this Security Instrument or all
                 costs necessary to obtain protection against such lien or charge by title insurance endorsement or surety
                 company bond; (d) such other charges as Lender deems reasonable for services rendered by Lender at
                 Borrower’s request; and (e) all costs, fees, and expenses incurred by Lender in connection with this Security
                 Instrument, whether or not specified in this Security Instrument.
                           On Lender’s request, Borrower shall promptly furnish Lender with all notices of sums due for any
                 amounts specified in the preceding clauses 5(a) through (e), and, on payment, with written evidence of such
                 payment. If Borrower fails to promptly make any payment required under this Section, Lender may (but is
                 not obligated to) make such payment. Borrower shall notify Lender immediately on receipt by Borrower
                 of notice of any increase in the assessed value of the Mortgaged Property and agrees that Lender, in
                 Borrower’s name, may (but is not obligated to) contest by appropriate proceedings such increase in
                 assessment. Without Lender’s prior written consent, Borrower shall not allow any lien inferior to the lien
                 of this Security Instrument to be perfected against the Mortgaged Property and shall not permit any
                 improvement bond for any unpaid special assessment to issue.




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                 6.        Leases of Mortgaged Property by Borrower. At Lender’s request, Borrower shall furnish Lender
                 with executed copies of all Leases of the Mortgaged Property or any portion of it then in force. If Lender
                 so requires, all Leases later entered into by Borrower are subject to Lender’s prior review and approval and
                 must be acceptable to Lender in form and content. Each Lease must specifically provide, inter alia, that (a)
                 it is subordinate to the lien of this Security Instrument; (b) the tenant attorns to Lender (and Borrower
                 consents to any such attornment), such attornment to be effective on Lender’s acquisition of title to the
                 Mortgaged Property; (c) the tenant agrees to execute such further evidence of attornment as Lender may
                 from time to time request; (d) the tenant’s attornment shall not be terminated by foreclosure; and (e) Lender,
                 at Lender’s option, may accept or reject such attornment. If Borrower learns that any tenant proposes to
                 do, or is doing, any act that may give rise to any right of setoff against rent, Borrower shall immediately (i)
                 take measures reasonably calculated to prevent the accrual of any such right of setoff; (ii) notify Lender of
                 all measures so taken and of the amount of any setoff claimed by any such tenant; and (iii) within 10 days
                 after the accrual of any right of setoff against rent, reimburse any tenant who has acquired such right, in
                 full, or take other measures that will effectively discharge such setoff and ensure that rents subsequently
                 due shall continue to be payable without claim of setoff or deduction.
                           At Lender’s request, Borrower shall assign to Lender, by written instrument satisfactory to Lender,
                 all Leases of the Mortgaged Property, and all security deposits made by tenants in connection with such
                 Leases. On assignment to Lender of any such Lease, Lender shall succeed to all rights and powers of
                 Borrower with respect to such Lease, and Lender, in Lender’s sole and absolute discretion, shall have the
                 right to modify, extend, or terminate such Lease and to execute other further leases with respect to the
                 Mortgaged Property that is the subject of such assigned Lease.
                          Neither Borrower, tenant nor any other occupant of the Mortgaged Property shall use the
                 Mortgaged Property, except in compliance with all applicable federal, state, and local laws, ordinances,
                 rules and regulations; nor shall Borrower, tenant or any other occupant cause the Mortgaged Property to
                 become subject to any use that is not in compliance with all applicable federal, state, and local laws,
                 ordinances, rules and regulations.
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                          If Borrower suspects any tenant or other occupant of the Mortgaged Property is using the
                 Mortgaged Property in a manner that is not in compliance with any Governmental Requirement to which
                 Borrower, tenant, or any other occupant of the Mortgaged Property is subject, Borrower shall immediately
                 take appropriate action to remedy the violation, and shall notify Lender of any potential violation within
                 one (1) day of discovery of any such potential violation. Any potential violation by a tenant or any other
                 occupant of the Mortgaged Property of any Governmental Requirement is an Event of Default under the
                 terms of the Loan Agreement, the Note and this Security Instrument, then Lender, at Lender’s option, may,
                 without prior notice, declare all sums secured by this Security Instrument, regardless of their stated due
                 date(s), immediately due and payable and may exercise all rights and remedies in the Loan Documents.
                 7.       Right to Collect and Receive Rents. Despite any other provision of this Security Instrument,
                 Lender grants permission to Borrower to collect and retain the Rents of the Mortgaged Property as they
                 become due and payable; however, such permission to Borrower shall be automatically revoked on default
                 by Borrower in payment of any Indebtedness secured by this Security Instrument or in the performance of
                 any of the Obligations, and Lender shall have the rights set forth in the laws and regulations where the
                 Mortgaged Property is located regardless of whether declaration of default has been delivered, and without
                 regard to the adequacy of the security for the Indebtedness secured by this Security Instrument. Failure of
                 or discontinuance by Lender at any time, or from time to time, to collect any such Rents shall not in any
                 manner affect the subsequent enforcement by Lender at any time, or from time to time, of the right, power,
                 and authority to collect these Rents. The receipt and application by Lender of all such Rents under this
                 Security Instrument, after execution and delivery of declaration of default and demand for sale as provided
                 in this Security Instrument or during the pendency of trustee’s sale proceedings under this Security
                 Instrument or judicial foreclosure, shall neither cure such breach or default nor affect such sale proceedings,
                 or any sale made     under them,     but such Rents, less all costs of operation, maintenance, collection, and
                 Attorneys’ Fees, when received by Lender, may be applied in reduction of the entire Indebtedness from


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                 time to time secured by this Security Instrument, in such order as Lender may decide. Nothing in this
                 Security Instrument, nor the exercise of Lender’s right to collect, nor an assumption by Lender of any
                 tenancy, lease, or option, nor an assumption of liability under, nor a subordination of the lien or charge of
                 this Security Instrument to, any such tenancy, lease, or option, shall be, or be construed to be, an affirmation
                 by Lender of any tenancy, lease, or option.
                          If the Rents of the Mortgaged Property are not sufficient to meet the costs, if any, of taking control
                 of and managing the Mortgaged Property and collecting the Rents, any funds expended by Lender for such
                 purposes shall become an Indebtedness of Borrower to Lender secured by this Security Instrument. Unless
                 Lender and Borrower agree in writing to other terms of payment, such amounts shall be payable on notice
                 from Lender to Borrower requesting such payment and shall bear interest from the date of disbursement at
                 the rate stated in the Note unless payment of interest at such rate would be contrary to Governmental
                 Requirements, in which event the amounts shall bear interest at the highest rate that may be collected from
                 Borrower under Governmental Requirements.
                          Borrower expressly understands and agrees that Lender will have no liability to Borrower or any
                 other person for Lender’s failure or inability to collect Rents from the Mortgaged Property or for failing to
                 collect such Rents in an amount that is equal to the fair market rental value of the Mortgaged Property.
                 Borrower understands and agrees that neither the assignment of Rents to Lender nor the exercise by Lender
                 of any of its rights or remedies under this Security Instrument shall be deemed to make Lender a
                 “mortgagee-in-possession” or otherwise responsible or liable in any manner with respect to the Mortgaged
                 Property or the use, occupancy, enjoyment, or operation of all or any portion of it, unless and until Lender,
                 in person or by agent, assumes actual possession of it. Nor shall appointment of a receiver for the
                 Mortgaged Property by any court at the request of Lender or by agreement with Borrower, or the entering
                 into possession of the Mortgaged Property or any part of it by such receiver be deemed to make Lender a
                 mortgagee-in-possession or otherwise responsible or liable in any manner with respect to the Mortgaged
                 Property or the use, occupancy, enjoyment, or operation of all or any portion of it.
                          During an Event of Default, any and all Rents collected or received by Borrower shall be accepted
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                 and held for Lender in trust and shall not be commingled with Borrower’s funds and property, but shall be
                 promptly paid over to Lender.
                 8.       Assignment of Causes of Action, Awards, and Damages.            All causes of action, and all sums due
                 or payable to Borrower for injury or damage to the Mortgaged Property, or as damages incurred in
                 connection with the transactions in which the Loan secured by this Security Instrument was made,
                 including, without limitation, causes of action and damages for breach of contract, fraud, concealment,
                 construction defects, or other torts, or compensation for any conveyance in lieu of condemnation, are
                 assigned to Lender, and all proceeds from such causes of action and all such sums shall be paid to Lender
                 for credit against the Indebtedness secured by this Security Instrument. Borrower shall notify Lender
                 immediately on receipt by Borrower of notice that any such sums have become due or payable and,
                 immediately on receipt of any such sums, shall promptly remit such sums to Lender.
                           After deducting all expenses, including Attorneys’ Fees, incurred by Lender in recovering or
                 collecting any sums under this Section, Lender may apply or release the balance of any funds received by
                 it under this Section, or any part of such balance, as it elects. Lender, at its option, may appear in and
                 prosecute in its own name any action or proceeding to enforce any cause of action assigned to it under this
                 Section and may make any compromise or settlement in such action whatsoever. Borrower covenants that
                 it shall execute and deliver to Lender such further assignments of any such compensation awards, damages,
                 or causes of action as Lender may request from time to time. If Lender fails or does not elect to prosecute
                 any such action or proceeding and Borrower elects to do so, Borrower may conduct the action or proceeding
                 at its own expense and risk.
                 9.        Defense of Security Instrument; Litigation. Borrower represents and warrants that this Security
                 Instrument creates a first position lien and security interest against the Mortgaged Property. Borrower shall
                 give Lender immediate written notice of any action or proceeding (including, without limitation, any
                 judicial, whether civil, criminal, or probate, or nonjudicial proceeding to foreclose the lien of a junior or


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                 senior mortgage or deed of trust) affecting or purporting to affect the Mortgaged Property, this Security
                 Instrument, Lender’s security for the performance of the Obligations and payment of the Indebtedness, or
                 the rights or powers of Lender under the Loan Documents. Despite any other provision of this Security
                 Instrument, Borrower agrees that Lender or Trustee may (but is not obligated to) commence, appear in,
                 prosecute, defend, compromise,        and settle, in Lender’s or Borrower’s name, and as attorney-in-fact for
                 Borrower, and incur necessary costs and expenses, including Attorneys’ Fees in so doing, any action or
                 proceeding, whether a civil, criminal, or probate judicial matter, nonjudicial proceeding, arbitration, or other
                 alternative dispute resolution procedure, reasonably necessary to preserve or protect, or affecting or
                 purporting to affect, the Mortgaged Property, this Security Instrument, Lender’s security for performance
                 of the Obligations and payment of the Indebtedness, or the rights or powers of Lender or Trustee under the
                 Loan Documents, and that if Lender and Trustee elect not to do so, Borrower shall commence, appear in,
                 prosecute, and defend any such action or proceeding. Borrower shall pay all costs and expenses of Lender
                 and Trustee, including costs of evidence of title and Attorneys’ Fees, in any such action or proceeding in
                 which Lender or Trustee may appear or for which legal counsel is sought, whether by virtue of being made
                 a party defendant or otherwise, and whether or not the interest of Lender or Trustee in the Mortgaged
                 Property is directly questioned in such action or proceeding, including, without limitation, any action for
                 the condemnation or partition of all or any portion of the Mortgaged Property and any action brought by
                 Lender to foreclose this Security Instrument or to enforce any of its terms or provisions.
                 10.       Borrower’s Failure to Comply With Security Instrument. If Borrower fails to make any
                 payment or do any act required by this Security Instrument, or if there is any action or proceeding
                 (including, without limitation, any judicial or nonjudicial proceeding to foreclose the lien of a junior or
                 senior mortgage or deed of trust) affecting or purporting to affect the Mortgaged Property, this Security
                 Instrument, Lender’s security for the performance of the Obligations and payment of the Indebtedness, or
                 the rights or powers of Lender or Trustee under the Loan Agreement, the Note or this Security Instrument,
                 Lender or Trustee may (but is not obligated to) (a) make any such payment or do any such act in such
                 manner and to such extent as either deems necessary to preserve or protect the Mortgaged Property, this
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                 Security Instrument, or Lender’s security for the performance of Borrower’s Obligations and payment of
                 the Indebtedness, or the rights or powers of Lender or Trustee under the Loan Documents, Lender and
                 Trustee being authorized to enter on the Mortgaged Property for any such purpose; and (b) in exercising
                 any such power, pay necessary expenses, retain attorneys, and pay Attorneys’ Fees incurred in connection
                 with such action, without notice to or demand on Borrower and without releasing Borrower from any
                 Obligations or Indebtedness.
                 11.       Sums Advanced to Bear Interest and to Be Secured by Security Instrument. At Lender’s
                 request, Borrower shall immediately pay any sums advanced or paid by Lender or Trustee under any
                 provision of this Security Instrument or the other Loan Documents. Until so repaid, all such sums and all
                 other sums payable to Lender and Trustee shall be added to, and become a part of, the Indebtedness secured
                 by this Security Instrument and bear interest from the date of advancement or payment by Lender or Trustee
                 at the same rate as provided in the Note, unless payment of interest at such rate would be contrary to
                 Governmental Requirements. All sums advanced by Lender under this Security Instrument or the other
                 Loan Documents, whether or not required to be advanced by Lender under the terms of this Security
                 Instrument or the other Loan Documents, shall conclusively be deemed to be mandatory advances required
                 to preserve and protect this Security Instrument and Lender’s security for the performance of the
                 Obligations and payment of the Indebtedness, and shall be secured by this Security Instrument to the same
                 extent and with the same priority as the principal and interest payable under the Note.
                 12.       Inspection of Mortgaged Property. In addition to any rights Lender may have under the laws
                 and regulations where the Mortgaged Property is located, Lender may make, or authorize other persons,
                 including, but not limited to, appraisers and prospective purchasers at any foreclosure sale commenced by
                 Lender, to enter on or inspect the Mortgaged Property at reasonable times and for reasonable durations.
                 Borrower shall permit all such entries and inspections to be made as long as Lender has given Borrower
                 written notice of such inspection at least 24 hours before the entry and inspection.


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                 13.      Uniform Commercial Code Security Agreement. This Security Instrument is intended to be and
                 shall constitute a security agreement under the Uniform Commercial Code for any of the Personalty
                 specified as part of the Mortgaged Property that, under Governmental Requirements, may be subject to a
                 security interest under the Uniform Commercial Code, and Borrower grants to Lender a security interest in
                 those items.    Borrower authorizes Lender to file financing statements in all states, counties, and other
                 jurisdictions as Lender may elect, without Borrower’s signature if permitted by law. Borrower agrees that
                 Lender may file this Security Instrument, or a copy of it, in the real estate records or other appropriate index
                 or in the Office of the Secretary of State and such other states as the Lender may elect, as a financing
                 statement for any of the items specified above as part of the Mortgaged Property. Any reproduction of this
                 Security Instrument or executed duplicate original of this Security Instrument, or a copy certified by a
                 County Recorder in the state where the Mortgaged Property is located, or of any other security agreement
                 or financing statement, shall be sufficient as a financing statement. In addition, Borrower agrees to execute
                 and deliver to Lender, at Lender’s request, any UCC financing statements, as well as any extensions,
                 renewals, and amendments, and copies of this Security Instrument in such form as Lender may require to
                 perfect a security interest with respect to the Personalty. Borrower shall pay all costs of filing such
                 financing statements and any extensions, renewals, amendments, and releases of such statements, and shall
                 pay all reasonable costs and expenses of any record searches for financing statements that Lender may
                 reasonably require. Without the prior written consent of Lender, Borrower shall not create or suffer to be
                 created any other security interest in the items, including any replacements and additions.
                          On any Event of Default, Lender shall have the remedies of a secured party under the Uniform
                 Commercial Code and, at Lender’s option, may also invoke the remedies provided in the Non-Uniform
                 Covenants section of this Security Instrument as to such items. In exercising any of these remedies, Lender
                 may proceed against the items of Mortgaged Property and any items of Personalty separately or together
                 and in any order whatsoever, without in any way affecting the availability of Lender’s remedies under the
                 Uniform Commercial Code or of the remedies provided in the Non-Uniform Covenants section of this
                 Security Instrument.
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                 14.      Fixture Filing. This Security Instrument constitutes a financing statement filed as a fixture filing
                 under Uniform Commercial Code, as amended or recodified from time to time, covering any portion of the
                 Mortgaged Property that now is or later may become a fixture attached to the Mortgaged Property or to any
                 Improvement.
                 15.      Waiver of Statute of Limitations. Borrower waives the right to assert any statute of limitations
                 as a defense to the Loan Documents and the Obligations secured by this Security Instrument, to the fullest
                 extent permitted by Governmental Requirements.
                 16.      Default. Any Event of Default, as defined in the Loan Agreement, shall constitute an "Event of
                 Default" as that term is used in this Security Instrument (and the term "Default" shall mean any event which,
                 with any required lapse of time or notice, may constitute an Event of Default, whether or not any such
                 requirement for notice or lapse of time has been satisfied).
                 17.      Acceleration on Transfer or Encumbrance.
                           17.1    Acceleration on Transfer or Encumbrance of Mortgaged Property.                     If Borrower
                 exchanges, assigns, conveys, encumbers (including, but not limited to PACE/HERO loans, any loans where
                 payments are collected through property tax assessments, and super-voluntary liens which are deemed to
                 have priority over the lien of the Security Instrument) (other than with a Permitted Encumbrance), transfers
                 possession, or alienates all or any portion of the Mortgaged Property, or any of Borrower’s interest in the
                 Mortgaged Property, or suffers its title to, or any interest in, the Mortgaged Property to be divested, whether
                 voluntarily or involuntarily; or if there is a sale or transfer of a majority interest in Borrower, provided that
                 a change of less than 50% does not result in a change of key principals and management of the Borrower;
                 or if Borrower changes or permits to be changed the character or use of the Mortgaged Property, or drills
                 or extracts or enters into any lease for the drilling or extracting of oil, gas, or other hydrocarbon substances
                 or any mineral of any kind or character on the Mortgaged Property; or if title to such Mortgaged Property
                 becomes subject to any lien or charge, voluntary or involuntary, contractual or statutory, without Lender’s


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                 prior written consent, then Lender, at Lender’s option, may, without prior notice, declare all sums secured
                 by this Security Instrument, regardless of their stated due date(s), immediately due and payable         and may
                 exercise all rights and remedies in the Loan Documents.
                          17.2      Replacement Personalty. Notwithstanding anything to the contrary herein,             Borrower
                 may from time to time replace Personalty constituting a part of the Mortgaged Property, as long         as (a) the
                 replacements for such Personalty are of equivalent value and quality; (b) Borrower has good and         clear title
                 to such   replacement    Personalty   free and clear of any and all liens, encumbrances,     security   interests,
                 ownership interests, claims of title (contingent or otherwise), or charges of any kind, or the rights of any
                 conditional sellers, vendors, or any other third parties in or to such replacement Personalty have been
                 expressly subordinated to the lien of the Security Instrument in a manner satisfactory to Lender and at no
                 cost to Lender; and (c) at Lender’s option, Borrower provides at no cost to Lender satisfactory evidence
                 that the Security Instrument constitutes a valid and subsisting lien on and security interest in such
                 replacement Personalty of the same priority as this Security Instrument has on the Mortgaged Property and
                 is not subject to being subordinated or its priority affected under any Governmental Requirements.
                           17.3    Permitted Encumbrances. If Lender consents in writing, which consent may not be
                 unreasonably withheld, the due-on-encumbrance prohibition shall not apply to a junior voluntary deed of
                 trust or mortgage lien in favor of another lender encumbering the Mortgaged Property (the principal balance
                 of any such junior encumbrance shall be added to the principal balance of the Indebtedness for purposes of
                 determining compliance with the financial covenants of the Loan Agreement and the Note); as long as
                 Borrower gives Lender at least 30 days written notice of the further encumbrance and reimburses Lender
                 for all out-of-pocket costs and expenses incurred in connection with such encumbrance.
                 18.       Waiver of Marshaling. Despite the existence of interests in the Mortgaged Property other than
                 that created by this Security Instrument, and despite any other provision of this Security Instrument, if
                 Borrower defaults in paying the Indebtedness or in performing any Obligations, Lender shall have the right,
                 in Lender’s sole and absolute discretion, to establish the order in which the Mortgaged Property will be
                 subjected to the remedies provided in this Security Instrument and to establish the order in which all or any
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                 part of the Indebtedness secured by this Security Instrument is satisfied from the proceeds realized on the
                 exercise of the remedies provided in this Security Instrument. Borrower and any person who now has or
                 later acquires any interest in the Mortgaged Property with actual or constructive notice of this Security
                 Instrument waives any and all rights to require a marshaling of assets in connection with the exercise of
                 any of the remedies provided in this Security Instrument or otherwise provided by Governmental
                 Requirements.
                 19.       Consents and Modifications; Borrower and Lien Not Released. Despite Borrower’s default in
                 the payment of any Indebtedness secured by this Security Instrument or in the performance of any
                 Obligations under this Security Instrument or Borrower’s breach of any obligation, covenant, or agreement
                 in the Loan Documents,        Lender, at Lender’s option, without notice to or consent from      Borrower,     any
                 guarantor of the Indebtedness and of Borrower’s Obligations under the Loan Documents, or any holder or
                 claimant of a lien or interest in the Mortgaged Property that is junior to the lien of this Security Instrument,
                 and without incurring liability to Borrower or any other person by so doing, may from time to time (a)
                 extend the time for payment of all or any portion of Borrower’s Indebtedness under the Loan Documents;
                 (b) accept a renewal note or notes, or release any person from liability, for all or any portion of such
                 Indebtedness; (c) agree with Borrower to modify the terms and conditions of payment under the Loan
                 Documents; (d) reduce the amount of the monthly installments due under the Note; (e) reconvey or release
                 other or additional security for the repayment of Borrower’s Indebtedness under the Loan Documents; (f)
                 approve the preparation or filing of any map or plat with respect to the Mortgaged Property; (g) enter into
                 any extension or subordination agreement affecting the Mortgaged Property or the lien of this Security
                 Instrument; and (h) agree with Borrower to modify the term, the rate of interest, or the period of
                 amortization of the Note or alter the amount of the monthly installments payable under the Note. No action
                 taken by Lender under this Section shall be effective unless it is in writing, subscribed by Lender, and,
                 except as expressly stated in such writing, no such action will impair or affect (i) Borrower’s obligation to


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                 pay the Indebtedness secured by this Security Instrument and to observe all Obligations of Borrower
                 contained in the Loan Documents; (ii) the guaranty of any Person of the payment of the Indebtedness
                 secured by this Security Instrument; or (iii) the lien or priority of the lien of this Security Instrument. At
                 Lender’s request, Borrower shall promptly pay Lender a reasonable service charge, together with all
                 insurance premiums and Attorneys’ Fees as Lender may have advanced, for any action taken by Lender
                 under this Section.
                          Whenever Lender’s consent or approval is specified as a condition of any provision of this Security
                 Instrument, such consent or approval shall not be effective unless such consent or approval is in writing,
                 signed by two authorized officers of Lender.
                 20.      Future Advances. On request by Borrower, Lender, at Lender’s option, may make future advances
                 to Borrower.      All   such   future advances,    with   interest,   shall   be added   to and    become     a part of the
                 Indebtedness secured by this Security Instrument when evidenced by promissory notes reciting that such
                 note(s) are secured by this Security Instrument.
                 21.       Prepayment.      If the Loan Documents provide for a fee or charge as consideration for the
                 acceptance of prepayment of principal, Borrower agrees to pay said fee or charge if the Indebtedness or any
                 part of it shall be paid, whether voluntarily or involuntarily, before the due date stated in the Note, even if
                 Borrower has defaulted in payment or in the performance of any agreement under the Loan Documents and
                 Lender has declared all sums secured by this Security Instrument immediately due and payable.
                 22.       Governing Law; Consent to Jurisdiction and Venue. This Security Instrument is made by
                 Lender and accepted by Borrower in the State of Pennsylvania except that at all times the provisions for the
                 creation, perfection, priority, enforcement and foreclosure of the liens and security interests created in the
                 Mortgaged Property under the Loan Documents shall be governed by and construed according to the laws
                 of the state in which the Mortgaged Property is situated. To the fullest extent permitted by the law of the
                 state in which the Mortgaged Property is situated, the law of the State of Pennsylvania shall govern the
                 validity and enforceability of all Loan Documents, and the debt or obligations arising hereunder (but the
                 foregoing shall not be construed to limit Lender’s rights with respect to such security interest created in the
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                 state in which the Mortgaged Property is situated). The parties agree that jurisdiction and venue for any
                 dispute, claim or controversy arising, other than with respect to perfection and enforcement of Lender’s
                 rights against the Mortgaged Property, shall be Lehigh County, Pennsylvania, or the applicable federal
                 district court that covers said County, and Borrower submits to personal jurisdiction in that forum for any
                 and all purposes. Borrower waives any right Borrower may have to assert the doctrine of forum non
                 conveniens or to object to such venue.

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                 23.     Taxation of Security Instrument. In the event of               the enactment of any law deducting from the
                 value of the Mortgaged Property any mortgage lien on it, or            imposing on Lender the payment of all or part
                 of the taxes, charges, or assessments previously paid by               Borrower under this Security Instrument, or
                 changing the law relating to the taxation of mortgages, debts           secured by mortgages, or Lender’s interest in
                 the Mortgaged Property so as to impose new incidents of tax            on Lender, then Borrower shall pay such taxes
                 or assessments or shall reimburse Lender for them; provided, however, that if in the opinion of Lender’s
                 counsel such payment cannot lawfully be made by Borrower, then Lender may, at Lender’s option, declare
                 all sums secured by this Security Instrument to be immediately due and payable without notice to Borrower.
                 Lender may invoke any remedies permitted by this Security Instrument.
                 24.      Mechanic’s Liens. Borrower shall pay from time to time when due, all lawful claims and demands
                 of mechanics, materialmen, laborers, and others that, if unpaid, might result in, or permit the creation of, a
                 lien on the Mortgaged Property or any part of it, or on the Rents arising therefrom, and in general shall do
                 or cause to be done everything necessary so that the lien and security interest of this Security Instrument
                 shall be fully preserved, at Borrower’s expense, without expense to Lender; provided, however, that if
                 Governmental Requirements empower Borrower to discharge of record any mechanic’s, laborer’s,
                 materialman’s, or other lien against the Mortgaged Property by the posting of a bond or other security,

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                 Borrower shall not have to make such payment if Borrower posts such bond or other security on the earlier
                 of (a) 10 days after the filing or recording of same or (b) within the time prescribed by law, so as not to
                 place the Mortgaged Property in jeopardy of a lien or forfeiture.
                 25.      Liability for Acts or Omissions. Lender shall not be liable or responsible for its acts or omissions
                 under this Security Instrument, except for Lender’s own gross negligence or willful misconduct, or be liable
                 or responsible for any acts or omissions of any agent, attorney, or employee of Lender, if selected with
                 reasonable care.
                 26.      Notices. Except for any notice required by Governmental Requirements to be given in another
                 manner, any notice required to be provided in this Security Instrument shall be given in accordance with
                 the Loan Agreement.
                 27.      Statement of Obligations. Except as otherwise provided by Governmental Requirements, at
                 Lender’s request, Borrower shall promptly pay to Lender such fee as may then be provided by law as the
                 maximum charge for each statement of obligations, Lender’s statement, Lender’s demand, payoff
                 statement, or other statement on the condition of, or balance owed, under the Note or secured by this
                 Security Instrument.
                 28.      Remedies Are Cumulative. Each remedy in this Security Instrument is separate and distinct and
                 is cumulative to all other rights and remedies provided by this Security Instrument or by Governmental
                 Requirements, and each may be exercised concurrently, independently, or successively, in any order
                 whatsoever.
                 29.      Obligations of Borrower Joint and Several.      If more than one Person is named as Borrower, each
                 obligation of Borrower under this Security Instrument shall be the joint and several obligations of each such
                 Person.
                 30.       Delegation of Authority. Whenever this Security Instrument provides that Borrower authorizes
                 and appoints Lender as Borrower’s attorney-in-fact to perform any act for or on behalf of Borrower or in
                 the name, place, and stead of Borrower, Borrower expressly understands and agrees that this authority shall
                 be deemed a power coupled with an interest and such power shall be irrevocable.
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                 31.       Funds for Taxes and Insurance. If Borrower is in default under this Security Instrument or any
                 of the Loan Documents, regardless of whether the default has been cured, then Lender may at any
                 subsequent time, at its option to be exercised on 30 days written notice to Borrower, require Borrower to
                 deposit with Lender or its designee, at the time of each payment of an installment of interest or principal
                 under the Note, an additional amount sufficient to discharge the obligations of Borrower under the Note
                 and this Security Instrument as they become due. The calculation of the amount payable and of the
                 fractional part of it to be deposited with Lender shall be made by Lender in its sole and absolute discretion.
                 These amounts shall be held by Lender or its designee not in trust and not as agent of Borrower and shall
                 not bear interest, and shall be applied to the payment of any of the Obligations under the Loan Documents
                 in such order or priority as Lender shall determine. If at any time within 30 days before the due date of
                 these obligations the amounts then on deposit shall be insufficient to pay the obligations under the Note and
                 this Security Instrument in full, Borrower shall deposit the amount of the deficiency with Lender within 10
                 days after Lender’s demand. If the amounts deposited are in excess of the actual obligations for which they
                 were deposited, Lender may refund any such excess, or, at its option, may hold the excess in a reserve
                 account, not in trust and not bearing interest, and reduce proportionately the required monthly deposits for
                 the ensuing year. Nothing in this Section shall be deemed to affect any right or remedy of Lender under
                 any other provision of this Security Instrument or under any statute or rule of law to pay any such amount
                 and to add the amount so paid to the Indebtedness secured by this Security Instrument. Lender shall have
                 no obligation to pay insurance premiums or taxes except to the extent the fund established under this Section
                 is sufficient to pay such premiums or taxes, to obtain insurance, or to notify Borrower of any matters relative
                 to the insurance or taxes for which the fund is established under this Section. Notwithstanding the
                 preceding, Borrower and Lender may agree to impounds of taxes and insurance which impounds shall be
                 identified in the Note.




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                         Lender or its designee shall hold all amounts so deposited as additional security for the sums
                 secured by this Security Instrument. Lender may, in its sole and absolute discretion and without regard to
                 the adequacy of its security under this Security Instrument, apply such amounts or any portion of it to any
                 Indebtedness secured by this Security Instrument, and such application shall not be construed to cure or
                 waive any default or notice of default under this Security Instrument.
                         If Lender requires deposits to be made under this Section, Borrower shall deliver to Lender all tax
                 bills, bond and assessment statements, statements for insurance premiums, and statements for any other
                 obligations referred to above as soon as Borrower receives such documents.
                          If Lender sells or assigns this Security Instrument, Lender shall have the right to transfer all
                 amounts deposited under this Section to the purchaser or assignee. After such a transfer, Lender shall be
                 relieved and have no further liability under this Security Instrument for the application of such deposits,
                 and Borrower shall look solely to such purchaser or assignee for such application and for all responsibility
                 relating to such deposits.
                 32.      General Provisions.
                          32.1    Successors and Assigns. Except as otherwise expressly provided herein, this Security
                 Instrument applies to, inures to the benefit of, and binds, the respective heirs, legatees, devisees,
                 administrators, executors, successors, and assigns of each party to this Security Instrument.
                          32.2    Meaning of Certain Terms. As used in this Security Instrument and unless the context
                 otherwise provides, the words “herein,” “hereunder” and “hereof” mean and include this Security
                 Instrument as a whole, rather than any particular provision of it.
                          32.3    Authorized Agents. In exercising any right or remedy, or taking any action provided in
                 this Security Instrument, Lender may act through its employees, agents, or independent contractors, as
                 Lender expressly authorizes.
                          32.4    Gender and Number. Wherever the context so requires in this Security Instrument, the
                 masculine gender includes the feminine and neuter, the singular number includes the plural, and vice versa.
                          32.5    Captions.    Captions and section headings used in this Security Instrument are for
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                 convenience of reference only, are not a part of this Security Instrument, and shall not be used in construing
                 it.
                 33.      Dispute Resolution: Waiver of Right to Jury Trial.
                          33.1    ARBITRATION.           CONCURRENTLY            HEREWITH,       BORROWER         AND ANY
                 GUARANTOR SHALL EXECUTE THAT CERTAIN ARBITRATION AGREEMENT WHEREBY
                 BORROWER, ANY GUARANTOR, AND LENDER AGREE TO ARBITRATE ANY DISPUTES TO
                 RESOLVE ANY CLAIMS (AS DEFINED IN THE ARBITRATION AGREEMENT).
                          33.2    WAIVER OF RIGHT TO JURY TRIAL.                           CONCURRENTLY HEREWITH,
                 BORROWER AND ANY GUARANTOR SHALL EXECUTE THAT CERTAIN ARBITRATION
                 AGREEMENT AND WAIVER OF RIGHT TO JURY TRIAL WHEREBY BORROWER, ANY
                 GUARANTOR, AND LENDER AGREE TO WAIVE THEIR RESPECTIVE RIGHTS TO A JURY
                 TRIAL OF ANY CLAIM (AS DEFINED IN THE ARBITRATION AGREEMENT) OR CAUSE OF
                 ACTION BASED ON OR ARISING FROM THE LOAN.

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                           33.3    PROVISIONAL REMEDIES: FORECLOSURE AND INJUNCTIVE RELIEF.
                 Nothing in the Section above, shall be deemed to apply to or limit the right of Lender to: (a) exercise self-
                 help remedies, (b) foreclose judicially or nonjudicially against any real or personal property collateral, or
                 to exercise judicial or nonjudicial power of sale rights, (c) obtain from a court provisional or ancillary
                 remedies (including, but not limited to, injunctive relief, a writ of possession, prejudgment attachment, a
                 protective order or the appointment of a receiver), or (d) pursue rights against Borrower or any other party
                 in a third party proceeding in any action brought against Lender (including, but not limited to, actions in
                 bankruptcy court). Lender may exercise the rights set forth in the foregoing clauses (a) through (d),
                 inclusive, before, during, or after the pendency of any proceeding referred to in the Section above. Neither

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                 the exercise of self-help remedies nor the institution or maintenance of an action for foreclosure or
                 provisional or ancillary remedies or the opposition to any such provisional remedies shall constitute a
                 waiver of the right of any Borrower, Lender or any other party, including, but not limited to, the claimant
                 in any such action, to require submission of the dispute, claim or controversy occasioning resort to such
                 remedies to any proceeding referred to in the Section above.
                          33.4     Contractual Right to Appoint a Receiver Upon Default. Upon an Event of Default
                 under this Security Instrument or a breach of any clause of any agreement signed in connection with the
                 loan to Borrower, Borrower agrees that Lender may appoint a receiver to control the Mortgaged Property
                 within seven (7) days of any default. Borrower agrees to cooperate with the receiver and turn over all
                 control to said receiver and otherwise cooperate with the receiver appointed by Lender.
                          33.5     Loan Agreement. This Security Instrument is subject to the provisions of the Loan
                 Agreement. As specifically provided in the Loan Agreement, if Borrower defaults under this Security
                 Instrument, Lender has the right and option to foreclose against any Collateral provided under the Loan
                 Agreement.

                 NON-UNIFORM COVENANTS.

                 Notwithstanding anything to the contrary elsewhere in this Security Instrument, Borrower and Lender
                 further covenant and agree as follows:

                 34.      Acceleration and Sale on Default.     If an Event of Default occurs, Lender, at its option, in addition
                 to other remedies provided at law, may declare all sums secured by this Security Instrument immediately
                 due and payable and may, at Lender’s option, direct Trustee to foreclose upon the Mortgage Property in
                 accordance with Chapter 51 of the Texas Property Code, as the same may be amended from time to time.
                          Trustee, when requested to do so by Lender after such an Event of Default as aforesaid, shall sell
                 all or any portion of the Mortgaged Property at public auction, to the highest bidder for cash, at the county
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                 courthouse of the county in Texas in which the Mortgaged Property or any part thereof is situated in the
                 area in or about such courthouse designated for real property foreclosure sales in accordance with applicable
                 law (or in the absence of such designation, in the area set forth in the notice of sale hereinafter described),
                 between the hours of 10:00 o'clock A.M. and 4:00 o'clock P.M., on the first Tuesday of any month, after
                 giving notice of the time, place and terms of said sale, and of the property to be sold in accordance with
                 applicable laws in the State of Texas in effect at the time such notice is given, provided however, such sale
                 shall begin at the time stated in such notice or within three (3) hours thereafter.
                           Notice of such proposed sale shall be given by posting written notice of the sale at the courthouse,
                 and, except as otherwise permitted or required by applicable law, by filing a copy of the notice in the office
                 of the county clerk of the county in which the sale is to be made at least twenty-one (21) days preceding
                 the date of the sale. If the property to be sold is situated in more than one county, a notice shall be posted
                 at the courthouse and filed with the county clerk of each county in which the property to be sold is situated.
                 In addition, Lender shall, at least twenty-one (21) days preceding the date of sale, serve written notice of
                 the proposed sale by certified mail on each debtor obligated to pay the debt secured hereby according to the
                 records of Lender. Service of such notice shall be completed upon deposit of the notice, enclosed in a
                 postpaid wrapper, properly addressed to such debtor at the most recent address as shown by the records of
                 Lender, in a post office or official depository under the care and custody of the United States Postal Service.
                 The affidavit of any person having knowledge of the facts to the effect that such service was completed
                 shall be prima facie evidence of the fact of service.
                           Any notice that is required or permitted to be given to Borrower may be addressed to Borrower at
                 Borrower’s address as stated on the first page hereof. Any notice that is to be given by certified mail to any
                 other debtor may, if no address for such other debtor is shown by the records of Lender, be addressed to
                 such other debtor at the address of Borrower as is shown by the records of Lender. Trustee may appoint
                 any attorney-in-fact or agent to act in his or her stead as Trustee to perform all duties of the Trustee


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                 authorized herein. Borrower authorizes and empowers Trustee to sell the Mortgaged Property, together or
                 in lots or parcels, as Trustee shall deem expedient; to receive the proceeds of said sale; and to execute and
                 deliver to the purchaser or purchasers thereof good and sufficient deeds of conveyance thereto by fee simple
                 title, with covenants of general warranty, and Borrower binds itself, himself or herself to warrant and
                 forever defend the title of such purchaser or purchasers. Trustee may postpone the sale of all or any portion
                 of the Mortgaged Property by public announcement made at the initial time and place of sale, and from
                 time to time later by public announcement made at the time and place of sale fixed by the preceding
                 postponement. Any person, including Borrower, Trustee, or Lender, may purchase at such sale. Lender
                 may offset its bid at such sale to the extent of the full amount owed to Lender under the Loan Documents,
                 including, without limitation, Trustee’s fees, expenses of sale, and costs, expenses, and Attorneys’ Fees
                 incurred by or on behalf of Lender in connection with collecting, litigating, or otherwise enforcing any right
                 under the Loan Documents.
                          The proceeds or avails of any sale made under or by virtue of this Security Instrument, together
                 with any other sums secured by this Security Instrument, which then may be held by the Trustee or Lender
                 or any other person, shall be applied as follows: (1) To the payment of the costs and expenses of such sale,
                 including Trustee’s fees, costs of title evidence, Attorneys’ Fees, and reasonable compensation to Lender
                 and its agents and consultants, and of any judicial proceedings in which the same costs and expenses of sale
                 may be made, and of all expenses, liabilities, and advances made or incurred by the Trustee or Lender under
                 this Security Instrument, together with interest at the rate set forth in the Note on all advances made by the
                 Trustee or Lender and all taxes or assessments, except any taxes, assessments, or other charges subject to
                 which the Mortgaged Property was sold; (2) to the payment of the whole amount then due, owing, or unpaid
                 on the Note for interest and principal, with interest on the unpaid principal at the Default Rate (as defined
                 in the Note), from the due date of any such payment of principal until the same is paid; (3) to the payment
                 of any other Indebtedness required to be paid by Borrower under any provision of this Security Instrument,
                 the Note, or any of the other Loan Documents; and (4) to the payment of the surplus, if any, to whomsoever
                 may be lawfully entitled to receive it.
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                 35.      Trustee. The Trustee shall be deemed to have accepted the terms of this trust when this Security
                 Instrument, duly executed and acknowledged, is made a public record as provided by law. The Trustee shall
                 not be obligated to notify any party to this Security Instrument of any pending sale under any other Security
                 Instrument or of any action or proceeding in which Borrower, Lender, or Trustee is a party, unless such
                 sale relates to or reasonably might affect the Mortgaged Property, this Security Instrument, Lender's
                 security for the payment of the Indebtedness and the performance of the Obligations, or the rights or powers
                 of Lender or Trustee under the Loan Documents, or unless such action or proceeding has been instituted by
                 Trustee against the Mortgaged Property, Borrower, or Lender.
                          In case of any sale hereunder, all prerequisites to the sale shall be presumed to have been performed,
                 and in conveyance given hereunder, all statements of facts or other recitals made therein as to any of the
                 following, shall be taken in all courts of law or equity as prima facie evidence that the facts so stated or
                 recited are true; i.e., the nonpayment of money secured; the request to Trustee to enforce this trust; the
                 proper and due appointment of any substitute trustee; the advertisement of sale or time, place and manner
                 of sale; or any other preliminary fact or thing. Trustee shall not be liable for any action taken or omitted to
                 be taken by Trustee in good faith and reasonably believed to be within the discretion or power conferred
                 upon Trustee by this Security Instrument and shall be answerable only for losses occurring through his or
                 her gross negligence or willful misconduct. Borrower agrees to save and hold Trustee and Lender harmless
                 from all loss and expense,      including reasonable Attorneys’   Fee, costs of a title search or abstract, and
                 preparation of survey, incurred by reason of any action, suit or proceeding (including an action, suit or
                 proceeding to foreclose or to collect the debt secured hereby) in and to which Trustee or Lender may be or
                 become a party by reason hereof, including but not limited to, condemnation, bankruptcy and administration
                 proceedings, as well as any other proceeding wherein proof of claim is required by law to be filed or in
                 which it becomes necessary to defend or uphold the terms of this Security Instrument, and in each such
                 instance, all money paid or expended by Trustee or Lender, together with interest thereon from date of such


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                 payment at the rate set forth in said Note or at the Default Rate, whichever is higher, shall be so much
                 additional indebtedness secured hereby and shall be immediately due and payable by Borrower.
                 36.      Power of Trustee to Reconvey or Consent. At any time, without liability and without notice to
                 Borrower, on Lender’s written request and presentation of the Note and this Security Instrument to Trustee
                 for endorsement, and without altering or affecting (a) the personal liability of Borrower or any other person
                 for the payment of the Indebtedness secured by this Security Instrument, or (b) the lien of this Security
                 Instrument on the remainder of the Mortgaged Property as security for the repayment of the full amount of
                 the Indebtedness then or later secured by this Security Instrument, (c) or any right or power of Lender or
                 Trustee with respect to the remainder of the Mortgaged Property, Trustee may (i) reconvey or release any
                 part of the Mortgaged Property from the lien of this Security Instrument; (ii) approve the preparation or
                 filing of any map or plat of the Mortgaged Property; (iii) join in the granting of any easement burdening
                 the Mortgaged Property; or (iv) enter into any extension or subordination agreement affecting the
                 Mortgaged Property or the lien of this Security Instrument.
                 37.      Duty to Reconvey. On Lender’s written request reciting that all sums secured hereby have been
                 paid, surrender of the Note and this Security Instrument to Trustee for cancellation and retention by Trustee,
                 and payment by Borrower of any reconveyance fees customarily charged by Trustee, Trustee shall
                 reconvey, without warranty, the Mortgaged Property then held by Trustee under this Security Instrument.
                 The recitals in such reconveyance of any matters of fact shall be conclusive proof of their truthfulness. The
                 grantee in such reconveyance may be described as “the person or persons legally entitled to the Mortgaged
                 Property.” Such request and reconveyance shall operate as a reassignment of the Rents assigned to Lender
                 in this Security Instrument.
                 38.      Substitution of Trustee. Lender, at Lender’s option, may from time to time, by written instrument,
                 substitute a successor or successors to any Trustee named in or acting under this Security Instrument, which
                 instrument, when executed and acknowledged by Lender and recorded in the office of the Recorder of the
                 county or counties in which the Mortgaged Property is located, shall constitute conclusive proof of the
                 proper substitution of such successor Trustee or Trustees, who shall, without conveyance from the
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                 predecessor Trustee, succeed to all right, title, estate, powers, and duties of such predecessor Trustee,
                 including, without limitation, the power to reconvey the Mortgaged Property. To be effective, the
                 instrument must contain the names of the original Borrower, Trustee, and Lender under this Security
                 Instrument, the book and page or instrument or document number at which, and the county or counties in
                 which, this Security Instrument is recorded, and the name and address of the substitute Trustee. If any notice
                 of default has been recorded under this Security Instrument, this power of substitution cannot be exercised
                 until all costs, fees, and expenses of the then acting Trustee have been paid. On such payment, the then
                 acting Trustee shall endorse receipt of the payment on the instrument of substitution. The procedure
                 provided in this Section for substitution of Trustees is not exclusive of other provisions for substitution
                 provided by Governmental Requirements.
                 39.       Collection of Rents. During an Event of Default, any and all Rents collected or received by
                 Borrower shall be accepted and held for Lender in trust and shall not be commingled with Borrower’s funds
                 and property, but shall be promptly paid over to Lender. This instrument constitutes an assignment of rents
                 and a security instrument under Chapter 64, Texas Property Code (SB 889 as enacted June 2011) and
                 affords Lender, as beneficiary hereunder, all rights and remedies of an assignee under Chapter 64, Texas
                 Property Code. This assignment of rents secures the Indebtedness, and a security interest in all rents from
                 the Mortgaged Property is hereby created under Chapter 64 of the Texas Property Code to secure the
                 Obligations.
                           If the Lender deems it necessary or convenient to have the rents collected by a receiver appointed
                 for that purpose following an event of default, the Lender may apply to a court of competent jurisdiction
                 for the appointment of a receiver of the Mortgaged Property, without notice and without regard for the
                 adequacy of the security for the Indebtedness and without regard for the solvency of Borrower, any
                 guarantor, or of any person, firm or other entity liable for the payment of the Indebtedness and shall have a



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                 receiver    appointed. The Borrower further hereby consents to the appointment of a receiver should Lender
                 elect to   seek such relief.
                 40.        Waiver of Right of Offset; Waiver of Deficiency Statutes. No portion of the Indebtedness
                 secured    by this Security Instrument shall be or be deemed to be offset or compensated by all or any part of
                 any claim, cause of action, counterclaim, or cross-claim, whether liquidated or unliquidated, that Borrower
                 may have or claim to have against Lender. To the extent permitted by law, Borrower expressly waives and
                 relinquishes any and all rights and remedies under Sections 51.003, 51.004 and 51.005 of the Texas
                 Property Code, as amended or re-codified (the “Deficiency Statutes”), including without limitation, the
                 right to seek a credit against or offset of any deficiency judgment based on the fair market value of the
                 Mortgaged Property sold at any judicial or non-judicial foreclosure; and to the extent permitted by law,
                 Borrower agrees that Lender shall be entitled to seek a deficiency judgment from Borrower and/or any other
                 party obligated on the Indebtedness secured hereby equal to the difference between the amount owing on
                 the Indebtedness secured hereby and the foreclosure sales price. Alternatively, in the event the foregoing
                 waiver is determined by a court of competent jurisdiction to be unenforceable, the following shall be the
                 basis for the finder of fact's determination of the fair market value of the Mortgaged Property as of the date
                 of the foreclosure sale in proceedings governed by any of the Deficiency Statues: (a) the Mortgaged
                 Property shall be valued in an “as is” condition as of the date of the foreclosure sale, without any assumption
                 or expectation that the Mortgaged Property will be repaired or improved in any manner before a resale of
                 the Mortgaged Property after foreclosure: (b) the valuation shall be based upon an assumption that the
                 foreclosure purchaser desires a resale of the Mortgaged Property for cash promptly (but not later than twelve
                 (12) months) following the foreclosure sale; (c) all reasonable closing costs customarily borne by the seller
                 in commercial real estate transactions should be deducted from the gross fair market value of the Mortgaged
                 Property, including without limitation, brokerage commissions, title insurance premiums, cost of a survey,
                 tax prorations, Attorneys' Fees, and marketing costs; (d) the gross fair market value of the Mortgaged
                 Property shall be further discounted to account for any estimated holding costs associated with maintaining
                 the Mortgaged Property pending sale, including without limitation, utilities expenses, property management
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                 fees, security, taxes and assessments (without duplication), and other maintenance, operational and
                 ownership expenses; and (e) any expert opinion testimony given or considered in connection with a
                 determination of the fair market value of the Mortgaged Property must be given by persons having at least
                 five (5) years’ experience in appraising property similar to the Mortgaged Property and who have conducted
                 and prepared a complete written appraisal of the Mortgaged Property and taking into consideration the
                 factors set forth above.
                 41.      NO _ SUBORDINATE             FINANCING.          NO FURTHER ENCUMBRANCES                    MAY     BE
                 RECORDED AGAINST THE REAL PROPERTY WITHOUT THE PRIOR WRITTEN CONSENT OF
                 LENDER. FAILURE TO COMPLY WITH THIS PROVISION SHALL CONSTITUTE AN EVENT OF
                 DEFAULT AND, AT THE LENDER’S OPTION, THE LOAN SHALL IMMEDIATELY BECOME DUE
                 AND PAYABLE. CONSENT TO ONE FURTHER ENCUMBRANCE SHALL NOT BE DEEMED TO
                 BE A WAIVER OF THE RIGHT TO REQUIRE SUCH CONSENT TO FUTURE OR SUCCESSIVE
                 ENCUMBRANCES.
                 42.      WAIVER OF NOTICES. Except as provided in the Note and as otherwise provided herein, unless
                 (and then to the extent not) prohibited by applicable law, the Borrower, and each surety, endorser, guarantor
                 and other person liable or to become liable for payment of any of the Indebtedness:
                          (1)      waive: opportunity to cure breach or default; grace; all notices, demands and presentments
                                   for payment; all notices of dishonor, non-payment, acceleration of maturity or intention to
                                    accelerate maturity; protest; dishonor; all other notices whatsoever; and, diligence in taking
                                    any action to collect amounts secured hereunder or in the handling of any collateral
                                    securing the Obligations at any time; and,
                            (ii)    consent and agree (without notice of any of the following): to any substitution,
                                    subordination, exchange or release of any security for the Obligations or the release of any
                                    party primarily or secondarily liable on the Indebtedness; that the Lender shall not be


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                                    required first to institute suit or exhaust his remedies against the Borrower or others liable
                                    or to become liable on the Obligations or to enforce his rights against them or any security
                                   therefor; and, to any extension, renewal, rearrangement, or postponement of the time or
                                   manner of payment of the Indebtedness and to any other indulgence with respect hereto or
                                   thereto. Borrower waives any right of redemption.
                 43.       Usury Savings Provisions. It is expressly stipulated and agreed to be the intent of Borrower and
                 Lender at all times to comply strictly with the applicable Texas law governing the maximum rate or amount
                 of interest payable on the Indebtedness, or applicable United States federal law to the extent that such law
                 permits Lender to contract for, charge, take, reserve or receive a greater amount of interest than under Texas
                 law. Ifthe applicable law is ever judicially interpreted so as to render usurious any amount contracted for,
                 charged, taken, reserved or received in respect of the Indebtedness, including by reason of the acceleration
                 of the maturity or the prepayment thereof, then it is Borrower’s and Lender's express intent that all amounts
                 charged in excess of the Maximum Lawful Rate (as hereinafter defined) shall be automatically canceled,
                 ab initio, and all amounts in excess of the Maximum Lawful Rate theretofore collected by Lender shall be
                 credited on the principal balance of the Indebtedness (or, if the Indebtedness has been or would thereby be
                 paid in full, refunded to Borrower), and the provisions of the Note and the other Loan Documents shall
                 immediately be deemed reformed and the amounts thereafter collectible hereunder and thereunder reduced,
                 without the necessity of the execution of any new document, so as to comply with the applicable laws, but
                 so as to permit the recovery of the fullest amount otherwise called for hereunder and thereunder; provided,
                 however,   if the Note has been paid in full before the end of the stated term hereof, then Borrower and
                 Lender agree that Lender shall, with reasonable promptness           after Lender discovers or is advised by
                 Borrower that interest was received in an amount in excess of the Maximum Lawful Rate, either credit such
                 excess interest against the Indebtedness then owing by Borrower to Lender and/or refund such excess
                 interest to Grantor. Borrower hereby agrees that as a condition precedent to any claim seeking usury
                 penalties against Lender, Borrower will provide written notice to Lender, advising Lender in reasonable
                 detail of the nature and amount of the violation, and Lender shall have sixty (60) days after receipt of such
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                 notice in which to correct such usury violation, if any, by either refunding such excess interest to Borrower
                 or crediting such excess interest against the Indebtedness then owing by Borrower to Lender. All sums
                 contracted for, charged, taken, reserved or received by Lender for the use, forbearance or detention of the
                 Indebtedness shall, to the extent permitted by applicable law, be amortized, prorated, allocated or spread,
                 using the actuarial method, throughout the stated term of the Note (including any and all renewal and
                 extension periods) until payment in full so that the rate or amount of interest on account of the Indebtedness
                 does not exceed the Maximum Lawful Rate from time to time in effect and applicable to the Indebtedness
                 for so long as debt is outstanding. In no event shall the provisions of Chapter 346 of the Texas Finance
                 Code (which regulates certain revolving credit loan accounts and revolving triparty accounts) apply to the
                 Note or any other part of the Indebtedness. Notwithstanding anything to the contrary contained herein or
                 in any of the other Loan Documents, it is not the intention of Lender to accelerate the maturity of any
                 interest that has not accrued at the time of such acceleration or to collect unearned interest at the time of
                 such acceleration. The terms and provisions of this Section shall control and supersede every other term,
                 covenant or provision contained herein, in any of the other Loan Documents or in any other document or
                 instrument pertaining to the Indebtedness.
                 44.      Covenants Running with the Land; Release.               The Obligations contained in this Security
                 Instrument are intended by Borrower, Lender, and Trustee to be, and shall be construed as, covenants
                 running with the Mortgaged Property until the lien of this Security Instrument has been fully released by
                 Lender. If the Indebtedness is paid in full in accordance with the terms of this Security Instrument and the
                 Loan Documents, and if Borrower shall well and truly perform all of the Obligations and Borrower’s
                 covenants contained herein, then this conveyance shall become null and void and the liens hereof shall be
                 released upon Borrower’s request (as approved by Lender) and at Borrower’s expense.
                 45.      PROPERTY INSURANCE DISCLOSURE. TEXAS FINANCE CODE SECTION 307.052
                 COLLATERAL PROTECTION INSURANCE NOTICE: (A) BORROWER IS REQUIRED TO (i


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                 KEEP THE MORTGAGED PROPERTY INSURED AGAINST DAMAGE IN THE AMOUNT
                 SPECIFIED HERFIN;   (ii) PURCHASE THE INSURANCE FROM AN INSURER THAT IS
                 AUTHORIZED TO DO BUSINESS IN THE STATE OF TEXAS OR AN ELIGIBLE SURPLUS
                 LINES INSURER OR OTHERWISE AS PROVIDED HEREIN; AND (iii) NAME LENDER AS
                 THE PERSON TO BE PAID UNDER THE POLICY IN THE EVENT OF A LOSS AS PROVIDED
                 HEREIN: (B) SUBJECT TO THE PROVISIONS HEREOF, BORROWER MUST, IF REQUIRED
                 BY LENDER, DELIVER TO LENDER A COPY (OR COPIES) OF THE POLICY (OR POLICIES)
                 AND PROOF OF THE PAYMENT OF PREMIUMS: AND (C) SUBJECT TO THE PROVISIONS
                 HEREOF, IF BORROWER FAILS TO MEET ANY REQUIREMENT LISTED IN THE
                 FOREGOING SUBPARTS (A) OR (B), LENDER MAY OBTAIN COLLATERAL PROTECTION
                 INSURANCE ON BEHALF OF BORROWER AT BORROWER'S EXPENSE.
                 46.    NO ORAL AGREEMENTS. THIS WRITTEN LOAN AGREEMENT REPRESENTS THE
                 FINAL AGREEMENT BETWEEN THE PARTIES AND MAY NOT BE CONTRADICTED BY
                 EVIDENCE OF PRIOR, CONTEMPORANEOUS OR SUBSEQUENT ORAL AGREEMENTS OF
                 THE PARTIES. THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN THE
                 PARTIES.


                                                                [SIGNATURES   FOLLOW]
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                                                                         23
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                                                                                                                      —




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                           IN WITNESS WHEREOF, Borrower has executed and delivered this Security Instrument as of the
                 date first written above.


                 BORROWER:

                 NORFOLK     PARTNERS, LLC, A TEXAS LIMITED LIABILITY COMPANY



                 By:   CBMJ Investments & Development LLC , a Texas limited liability company, Managing Member


                       By:
                              Chris       F   Bran, Sole Member
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                   A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
                   document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.


                 State of       7        FA [¢                                 )

                 County of              Ha,            Sf                      ) ye

                 On         7   h       Zz    -   2221           before me,               4          i        Sa                          , Notary Public
                            Date                                                        ere Insert Name of the Officer

                 Personally Appeared                                                a      S          AA
                                                                            Name(s) of Signer(s)

                 who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the
                 within instrument and acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies),
                 and that by his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of which the person(s)
                 acted, executed the instrument.

                                                                                               I certify under PENALTY OF PERJURY under the
                                                                                               laws of the State of _/ zx S          thatthe
                                                                                               foregoing paragraph is true and correct.
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                                             CH- ARLES ABER
                                                               , Sta te of Texas
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                                                     NotaryD 12418677)
                                    ;
                                    )ok
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                                                                                               Signature
                                                                                                                  Signature of Notary




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                                                                EXHIBIT “A”
                                                        LEGAL PROPERTY DESCRIPTION
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                            #    Pages     28
                            07/07/2021               02:10     PM
                            e-Filed        &     e-Recorded          in    the
                            Official           Public        Records      of
                            HARRIS        COUNTY

                            TENESHIA           HUDSPETH
                            COUNTY        CLERK

                            Fees         $122.00
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                           RECORDERS           MEMORANDUM
                           This instrument was received and recorded electronically
                           and any blackouts, additions or changes were present
                           at the time the instrument was filed and recorded.




                           Any provision herein which restricts  the sale, rental,       or
                           use of the described real property because of color or
                           race is invalid and unenforceable under federal law.
                           THE     STATE        OF    TEXAS
                           COUNTY        OF HARRIS                        oo         ]
                           I hereby certify that this instrument was FILED in
                           File Number Sequence on the date and at the time stamped
                           hereon by me; and was_duly RECORDED in the Official
                           Public Records  of Real Property of Harris County,  Texas.



                                                              Vt tan
                                                              COUNTY CLERK
                                                              HARRIS COUNTY, TEXAS
